     Case 2:24-cr-00103-MWF   Document 34   Filed 01/13/25   Page 1 of 49 Page ID #:240



 1    E. MARTIN ESTRADA
      United States Attorney
 2    LINDSEY GREER DOTSON
      Assistant United States Attorney
 3    Chief, Criminal Division
      MATTHEW J. KLUGE (PABN 204285)
 4    Assistant Chief, Tax Division
      PETER J. ANTHONY (NYBN 4940912)
 5    Trial Attorney, Tax Division
           150 M Street N.E., Room 2.206
 6         Washington, D.C. 20002
           Telephone: (202) 305-3301
 7         Facsimile: (202) 514-9623
           E-mail: Matthew.J.Kluge@usdoj.gov
 8    JAMES C. HUGHES (CABN 263878)
           Assistant United States Attorney
 9         1100 United States Courthouse
           312 North Spring Street
10         Los Angeles, California 90012
           Telephone: (213) 894-2579
11         Facsimile: (213) 894-6269
           E-mail: James.Hughes2@usdoj.gov
12
      Attorneys for Plaintiff
13    UNITED STATES OF AMERICA

14                            UNITED STATES DISTRICT COURT

15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

16    UNITED STATES OF AMERICA,                 No. CR 24-CR-00103-MWF

17               Plaintiff,                     GOVERNMENT’S OPPOSITION TO
                                                DEFENDANT’S MOTION TO DISMISS THE
18                     v.                       INDICTMENT
19    ROGER KEITH VER,                          Hearing Date: February 10, 2025
                                                Hearing Time: 1:30 p.m.
20               Defendant.                     Location:     First Street
                                                              Courthouse,
21                                                            Courtroom 5A

22

23          Plaintiff United States of America, by and through its counsel
24    of record, the United States Attorney for the Central District of
25    California; Matthew J. Kluge, Assistant Chief, Tax Division; Peter J.
26    Anthony, Trial Attorney, Tax Division; and Assistant United States
27    Attorney James C. Hughes, hereby files its Opposition to Defendant’s
28    Motion to Dismiss.
     Case 2:24-cr-00103-MWF   Document 34   Filed 01/13/25   Page 2 of 49 Page ID #:241



 1          This Opposition is based upon the attached memorandum of points

 2    and authorities, the files and records in this case, the Declaration

 3    of IRS Special Agent Jeremiah Haynie, and such further evidence and

 4    argument as the Court may permit.

 5     Dated: January 13, 2025              Respectfully submitted,

 6                                          E. MARTIN ESTRADA
                                            United States Attorney
 7
                                            LINDSEY GREER DOTSON
 8                                          Assistant United States Attorney
                                            Chief, Criminal Division
 9

10                                                /s/
                                            MATTHEW J. KLUGE (PABN 204285)
11                                          Assistant Chief, Tax Division
                                            PETER J. ANTHONY (NYBN 4940912)
12                                          Trial Attorney, Tax Division
13
                                            JAMES C. HUGHES
14                                          Assistant United States Attorney

15                                          Attorneys for Plaintiff
                                            UNITED STATES OF AMERICA
16

17

18

19

20

21

22

23

24

25

26

27

28

                                              2
     Case 2:24-cr-00103-MWF   Document 34   Filed 01/13/25   Page 3 of 49 Page ID #:242



 1                                  TABLE OF CONTENTS

 2    DESCRIPTION                                                                    PAGE

 3    TABLE OF AUTHORITIES...............................................ii

 4    MEMORANDUM OF POINTS AND AUTHORITIES................................1

 5    I.    INTRODUCTION...................................................1

 6    II.   BACKGROUND.....................................................3

 7          A.    Factual Background........................................3

 8          B.    Procedural History........................................7

 9          C.    Expatriation and the Tax Code.............................7

10                1.   The Exit Tax.........................................8
11                2.   Expatriation Statement..............................10
12    III. STANDARD OF REVIEW............................................10
13    IV.   THE COURT SHOULD APPLY THE FUGITIVE DISENTITLEMENT DOCTRINE...10
14          A.    Ver Is a Fugitive........................................11
15          B.    The Equities Support Application of the Doctrine.........12
16    V.    MERITS ARGUMENTS..............................................14
17          A.    The Exit Tax Is Constitutional...........................15
18                1.   The Tax Falls Within Congress’ Taxing Power.........15
19                2.   The Tax Does Not Violate Due Process................24

20          B.    Ver’s Void-For-Vagueness Challenge Fails.................30

21                1.   Unconstitutional Vagueness is a High Bar............30

22                2.   The Charges as Applied Are Not Vague................31

23                3.   Ver Had Notice......................................35

24                4.   Scienter Requirements Eliminate Any Vagueness
                       Concern.............................................36
25
            C.    Ver’s “Selective Quotation” Argument Is Meritless........36
26
      VI.   CONCLUSION....................................................39
27

28

                                              i
     Case 2:24-cr-00103-MWF   Document 34   Filed 01/13/25   Page 4 of 49 Page ID #:243



 1                                 TABLE OF AUTHORITIES

 2    DESCRIPTION                                                                    PAGE

 3    CASES

 4    Afroyim v. Rusk, 387 U.S. 253 (1967)...........................27, 28

 5    Bank of Nova Scotia v. United States, 487 U.S. 250 (1988)..........38

 6    Barclay & Co. v. Edwards, 267 U.S. 442 (1924)......................29

 7    Best Life Assur. Co. of California v. Commissioner, 281 F.3d 828
           (9th Cir. 2002)...............................................21
 8
      Brushaber v. Union Pac. R. Co., 240 U.S. 1 (1916)..............16, 29
 9
      Chiles v. United States, 843 F.2d 367 (9th Cir. 1987)..............29
10
      Conforte v. Commissioner, 692 F.2d 587 (9th Cir. 1982).............10
11
      Cottage Sav. Ass'n v. Commissioner, 499 U.S. 554 (1991)........22, 23
12
      Crow v. Commissioner, 85 T.C. 376 (1985)...........................19
13
      Dep’t of State v. Munoz, 602 U.S. 899 (2024).......................25
14
      Diedrich v. Commissioner, 457 U.S. 191 (1982)......................22
15
      Eisner v. Macomber, 252 U.S. 189 (1920)............................21
16
      Estate of Elkins v. Commissioner, 767 F.3d 443 (5th Cir. 2014).....32
17
      Flint v. Stone Tracy Co., 220 U.S. 107 (1911)..................17, 18
18
      Helvering v. Griffiths, 318 U.S. 373 (1943)........................21
19
      Hylton v. United States, 3 U.S. (3 Dall.) 171 (1796).......15, 16, 17
20
      In re Assets of Martin, 1 F.3d 1351 (3d Cir. 1993).................11
21
      In re Han Yong Kim, 571 F. App’x 556 (9th Cir. 2014)...............11
22
      In re Hijazi, 589 F.3d 401 (7th Cir. 2009).........................13
23
      Kashem v. Barr, 941 F.3d 358 (9th Cir. 2019).......................35
24
      Kawashima v. Holder, 565 U.S. 478 (2012)...........................36
25
      Knowlton v. Moore, 178 U.S. 41 (1900)..........................17, 18
26
      L'Association des Américains Accidentels v. Dep’t of State, 656
27         F.Supp.3d 165 (D.D.C. 2023)...................................26

28    Loper Bright Enters. v. Raimondo, 603 U.S 369 (2024)...............34

                                              ii
     Case 2:24-cr-00103-MWF    Document 34   Filed 01/13/25   Page 5 of 49 Page ID #:244



 1                            TABLE OF AUTHORITIES (CONTINUED)

 2    DESCRIPTION                                                                     PAGE

 3    MacLaughlin v. All. Ins. Co. of Philadelphia, 286 U.S. 244
           (1932)........................................................22
 4
      Maehr v. Dep’t of State, 5 F.4th 1100 (10th Cir. 2021).............26
 5
      Marr v. United States, 268 U.S. 536 (1925).........................23
 6
      Mastro v. Rigby, 764 F.3d 1090 (9th Cir. 2014).....................12
 7
      McFadden v. United States, 576 U.S. 186 (2015).....................36
 8
      Molinaro v. New Jersey, 396 U.S. 365 (1970)........................13
 9
      Moore v. United States, 36 F.4th 930 (9th Cir. 2022)...............20
10
      Moore v. United States, 602 U.S. 572 (2024)....................passim
11
      Murphy v. I.R.S., 493 F.3d 170 (D.C. Cir. 2007)....................19
12
      Murray v. The Charming Betsy, 6 U.S.(2 Cranch) 64 (1804)...........26
13
      Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519 (2012)...15, 16,
14         17, 18

15    Nat’l Standard Co. v. Commissioner, 80 T.C. 551 (1983).............33

16    Ortega-Rodriguez v. United States, 507 U.S. 234 (1993).........12, 13

17    Parretti v. United States, 143 F.3d 508 (9th Cir. 1998)........12, 13

18    Patton v. Brady, 184 U.S. 608 (1902)...............................17

19    Richards v. Sec’y of State, 752 F.2d 1413 (9th Cir. 1985)..........27

20    San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1 (1973)......28

21    Savorgnan v. United States, 338 U.S. 491 (1950)....................26

22    Schuster v. United States, 765 F.2d 1047 (11th Cir. 1985)..........11

23    Screws v. United States, 325 U.S. 91 (1945)........................36

24    Shanks v. Dupont, 28 U.S. (3 Pet.) 242 (1830)......................28

25    Skilling v. United States, 561 U.S. 358 (2010).....................30

26    Smith v. United States, 94 U.S. 97 (1876)..........................12

27    Sze v. Johnson, 172 F. Supp. 3d 112 (D.D.C. 2016)..................26

28    Thomas v. United States, 192 U.S. 363 (1904)...................16, 17

                                              iii
     Case 2:24-cr-00103-MWF    Document 34   Filed 01/13/25   Page 6 of 49 Page ID #:245



 1                            TABLE OF AUTHORITIES (CONTINUED)

 2    DESCRIPTION                                                                     PAGE

 3    Tiger Eye Trading, LLC v. Commissioner, 138 T.C. 67 (2012).........33

 4    Tyler v. United States, 281 U.S. 497 (1930)................16, 17, 18

 5    United States v. $671,160.00 in U.S. Currency, 730 F.3d 1051
           (9th Cir. 2013)...........................................11, 12
 6
      United States v. Al Mudarris, 695 F.2d 1182 (9th Cir. 1983)........37
 7
      United States v. Bescond, 24 F.4th 759 (2d Cir. 2021)..............13
 8
      United States v. Buckley, 689 F.2d 893 (9th Cir. 1982).............10
 9
      United States v. Bundy, 968 F.3d 1019 (9th Cir. 2020)..............36
10
      United States v. Catino, 735 F.2d 718 (2d Cir. 1984)...............11
11
      United States v. Chung Cheng Yeh, No. CR 10-00231 WHA, 2013 WL
12         2146572 (N.D. Cal. May 15, 2013)..............................11

13    United States v. Fisher, 607 F. App’x 645 (9th Cir. 2015)..........36

14    United States v. Fritz, 852 F.2d 1175 (9th Cir. 1988)..............38

15    United States v. Gonzalez, 300 F.3d 1048 (9th Cir. 2002)...........12

16    United States v. Harris, 705 F.3d 929 (9th Cir. 2013)..............32

17    United States v. Isgro, 974 F.2d 1091 (9th Cir. 1992)..............37

18    United States v. James, 333 F.2d 748 (9th Cir. 1964)...............21

19    United States v. Jensen, 93 F.3d 667 (9th Cir. 1996)...............10

20    United States v. Jinian, 725 F.3d 954 (9th Cir. 2013)..............36

21    United States v. Juvenile Male, 670 F.3d 999 (9th Cir. 2012).......29

22    United States v. Kearns, 5 F.3d 1251 (9th Cir. 1993)...............37

23    United States v. Lee, 455 U.S. 252 (1982)..........................29

24    United States v. Lucero, 989 F.3d 1088 (9th Cir. 2021).....30, 31, 32

25    United States v. Martirossian, 917 F.3d 883 (6th Cir. 2019)....11, 12

26    United States v. Mead, 533 U.S. 218 (2001).........................34

27    United States v. Mfrs. Nat. Bank of Detroit, 363 U.S. 194 (1960)...17

28    United States v. Murguia-Oliveros, 421 F.3d 951 (9th Cir. 2005)....13

                                               iv
     Case 2:24-cr-00103-MWF    Document 34   Filed 01/13/25   Page 7 of 49 Page ID #:246



 1                            TABLE OF AUTHORITIES (CONTINUED)

 2    DESCRIPTION                                                                     PAGE

 3    United States v. Nat’l Diary Prods. Corp., 372 U.S. 29 (1963)......30

 4    United States v. Phellis, 257 U.S. 156 (1921)......................23

 5    United States v. Ptasynski, 462 U.S. 74 (1983).....................15

 6    United States v. Rodgers, 461 U.S. 677 (1983)......................29

 7    United States v. Rogers, 751 F.2d 1074 (9th Cir. 1985).............36

 8    United States v. Shaheen, 445 F.2d 6 (7th Cir. 1971)...............28

 9    United States v. Shalhoub, 855 F.3d 1255 (11th Cir. 2017)..........11

10    United States v. Stanzione, 391 F. Supp. 1201 (S.D.N.Y. 1975)..11, 14

11    United States v. Terabelian, 105 F.4th 1207 (9th Cir. 2024)........13

12    United States v. Williams, 504 U.S. 36 (1992)......................38

13    United States v. Williams, 553 U.S. 285 (2008).............30, 31, 32

14    Weiss v. Stearn, 265 U.S. 242 (1924)...............................23

15    Yin v. United States, 31 F.2d 738 (9th Cir. 1929)..................28

16    STATUTES

17    18 U.S.C. § 1341....................................................7
18    19 U.S.C. § 2432...................................................27
19    26 U.S.C. § 7201....................................................7

20    26 U.S.C. § 7206(1).................................................7

21    8 U.S.C. § 1481.............................................8, 24, 25

22    Expatriation Act of 1907, Pub. L. No. 59-193, 34 Stat. 1228........28

23    Foreign Investors Tax Act of 1966, Pub. L. 89-809, 80 Stat. 1539....7

24    Health Insurance Portability and Accountability Act of 1996,
           Pub. L. 104-191, 110 Stat. 1936................................8
25
      I.R.C. § 1221......................................................33
26
      I.R.C. § 1256......................................................21
27
      I.R.C. § 1259......................................................22
28

                                               v
     Case 2:24-cr-00103-MWF    Document 34   Filed 01/13/25   Page 8 of 49 Page ID #:247



 1                            TABLE OF AUTHORITIES (CONTINUED)

 2    DESCRIPTION                                                                     PAGE

 3    I.R.C. § 1272......................................................22

 4    I.R.C. § 1296......................................................22

 5    I.R.C. § 1361......................................................23

 6    I.R.C. § 301...................................................31, 35

 7    I.R.C. § 305.......................................................22

 8    I.R.C. § 317.......................................................35

 9    I.R.C. § 467.......................................................22

10    I.R.C. § 475.......................................................21

11    I.R.C. § 6039G..........................................8, 14, 31, 34

12    I.R.C. § 877........................................................7

13    I.R.C. § 877A..................................................passim

14    Income Tax Act, R.S.C. 1985, c.1, § 128.1..........................27

15    OTHER AUTHORITIES

16    1 Mertens Law of Fed. Income Tax’n § 5:5 (Mar. 2023)...............28
17    2024 Instructions for Form 8854, IRS.gov,
           https://www.irs.gov/instructions/i8854........................11
18
      Andrew Appleby, No Migration Without Taxation: State Exit Taxes,
19         60 HARV. J. ON LEGIS. 55 (2023) .................................35

20    David Voreacos & Olga Kharif, ‘Bitcoin Jesus’ Fights IRS Tax
           Evasion Case From Spanish Island, Bloomberg (November 13,
21         2024), https://www.bloomberg.com/news/articles/2024-11-13/-
           bitcoin-jesus-fights-irs-tax-evasion-case-from-spanish-
22         island.........................................................2

23    Fed. R. of Crim. P. 12(b)(1).......................................11

24    Kuntz & Peroni, U.S. Int’l Tax, Nondiscrimination Clauses, 2000
           WL 530244 (2024)..............................................24
25
      Letter 6174, (6-2019), I.R.S. (July 16, 2019),
26         https://www.irs.gov/pub/notices/letter_6174.pdf................4

27    S. Rep. No 110-1 (2007)............................................31

28

                                               vi
     Case 2:24-cr-00103-MWF    Document 34   Filed 01/13/25   Page 9 of 49 Page ID #:248



 1                            TABLE OF AUTHORITIES (CONTINUED)

 2    DESCRIPTION                                                                     PAGE

 3    Treasury Inspector General for Tax Administration, More
           Enforcement and a Centralized Compliance Effort Are
 4         Required for Expatriation Provisions, Oversight.gov (Sept.
           20, 2020),
 5         https://www.oversight.gov/sites/default/files/documents/rep
           orts/2020-09/202030071fr.pdf..................................10
 6
      U.S. Const., Art. I, § 8...........................................18
 7
      U.S. Const., Art. I, § 9...........................................18
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              vii
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 10 of 49 Page ID
                                        #:249


 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   INTRODUCTION

 3        Defendant Roger Ver was indicted by a grand jury on tax-related

 4   charges for concealing critical information and lying to avoid paying

 5   nearly $50 million in taxes. That is the core of this case.

 6        As alleged, Ver was an early and avid promoter of bitcoins,

 7   which Ver praised for “mak[ing] it so incredibly easy for people to

 8   hide their incomes or evade taxes.” Ver, either personally or through

 9   his two U.S. companies, began acquiring bitcoins in 2011.

10        In February 2014, Ver obtained citizenship in St. Kitts and

11   renounced his U.S. citizenship a month later. Given his wealth, Ver’s

12   renouncement triggered an obligation to file expatriation-related tax

13   returns and pay tax on any gain from the constructive sale of all of

14   his property, including his bitcoins.

15        By February 2014, Ver and his companies owned approximately

16   131,000 bitcoins: 73,000 owned by Ver through his companies and

17   58,000 owned by Ver personally. Bitcoins were trading between $782

18   and $960 across several large exchanges. Thus, Ver’s total bitcoin

19   holdings were worth, absent discounts, at least $102.4 million. The

20   companies’ bitcoins were worth at least $57 million; Ver’s were worth

21   at least $45 million.

22        Yet, Ver’s tax returns claimed that his companies owned bitcoins

23   worth only $1.4 million and that Ver himself owned none. Contrary to

24   the revisionist history in Ver’s brief, it was Ver’s lies and

25   concealment that account for the enormous gulf between the value of

26   Ver’s bitcoin holdings and what he reported to the IRS. Indeed, the

27   indictment outlines numerous instances where Ver’s advisors requested

28   Ver provide them with the foundational information of how many
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 11 of 49 Page ID
                                        #:250


 1   bitcoins Ver owned—and numerous instances where Ver either refused to

 2   tell them or lied.

 3        In addition, the indictment alleges that in 2017, Ver took

 4   personal ownership of his companies’ bitcoins, which he had been

 5   advised could trigger U.S. tax consequences to him. He later sold

 6   many of them for over $200 million. Yet, when his accountant asked

 7   him point blank whether he had received any property or distributions

 8   from the companies, Ver lied and said no. The accountant then

 9   prepared a tax return incorporating that lie, which Ver signed under

10   penalties of perjury.

11        Now, while Ver sits on the Mediterranean island of Mallorca1

12   contesting his extradition to the U.S., Ver has moved to dismiss the
13   indictment against him on three grounds: (1) the tax imposed upon
14   some high-net-worth or high-income individuals who relinquish their
15   U.S. citizenship is unconstitutional, (2) the charges are void for
16   vagueness due to purported uncertainty in bitcoins’ tax treatment,
17   and (3) the indictment supposedly selectively quotes from certain
18   communications.
19        Ver does not raise a single legal or factual ground that

20   warrants dismissal. And given Ver’s status as a constructive

21   fugitive, this Court should decline to rule on his motion at this

22   time and then, only after Ver has been extradited, deny it.

23

24

25

26

27        1 See David Voreacos & Olga Kharif, ‘Bitcoin Jesus’ Fights IRS
     Tax Evasion Case From Spanish Island, Bloomberg (November 13, 2024),
28   https://www.bloomberg.com/news/articles/2024-11-13/-bitcoin-jesus-
     fights-irs-tax-evasion-case-from-spanish-island.
                                        2
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 12 of 49 Page ID
                                        #:251


 1   II.     BACKGROUND

 2           A.   Factual Background

 3           An early bitcoin investor, Ver began acquiring bitcoins in 2011

 4   for himself and his two companies, MemoryDealers and Agilestar.

 5   (Indictment ¶¶ 6-7.) By early 2014, Ver controlled—either directly or

 6   through his companies—approximately 131,000 bitcoins, most of which

 7   Ver acquired for less than $32 each. (Id. ¶ 27(e)(i).) By February

 8   2014, the bitcoin price shot up and was trading on large exchanges

 9   for between $782 and $960. (Id.) From the start, Ver was an avid

10   promotor of bitcoins, even earning the moniker “Bitcoin Jesus.” (Id.

11   ¶ 6.)

12           Ver touted one aspect of bitcoins: how they allow people to hide

13   their income and evade their taxes. For example, in February 2016—

14   just a few months before Ver filed his expatriation-related returns—

15   Ver gave a speech at “Anarchapulco,” an annual “anarcho-capitalist”

16   convention, where he said bitcoin makes tax evasion “incredibly

17   easy”:

18                Bitcoin completely undermines the power of every
                  single government...to tax people’s income, to
19                control them in any way....
20
                  Bitcoin [] makes it so incredibly easy for people
21                to hide their income or evade taxes...

22   Ex 1. ¶ 6(Declaration of Jeremiah Haynie). Ver then gleefully

23   recounted how multiple people had contacted him asking for advice

24   about how to use bitcoin to evade their taxes, including one

25   “panicked” friend who told Ver “I need you to show me how to hide my

26   bitcoin so that I don’t have to pay taxes on it.” (Id.)

27           As his bitcoin portfolio grew, Ver expatriated. (Indictment ¶¶

28   17-18). He relinquished his U.S. citizenship for all non-tax purposes

                                            3
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 13 of 49 Page ID
                                        #:252


 1   in February 2014 when he became a Kittitian citizen, and did so for

 2   tax purposes in March. (Id.) As explained below, as a high-net-worth

 3   individual who performed one of four triggering acts, Ver’s

 4   relinquishment had tax consequences. (Id. ¶¶ 13-14.) Ver hired

 5   professionals—lawyers, accountants, and appraisers—to advise him on

 6   those consequences. (Id. ¶¶ 15-16.) But when these professionals

 7   repeatedly sought information from Ver regarding his bitcoins, Ver

 8   hid that information from them. (Id. ¶¶ 27(e)(iv), (vi), (xvi), (xx)-

 9   (xxii).)2

10        Ver also did not correct Appraiser 2’s, an appraiser Ver hired,

11   wildly inaccurate valuations of the companies, including their

12   bitcoins, even after being alerted of an issue with them. (Id. ¶¶

13   27(e)(viii)-(xiv).) Relying on the company’s records, Appraiser 2

14   included a value of MemoryDealers’ bitcoins at around $1.3 million

15   and Agilestar’s at $113,582. (Id. ¶ 27(e)(x).) These figures would

16   have been clearly inaccurate to Ver. Collectively, the companies

17   possessed approximately 73,000 bitcoins. (Id. ¶ 27(e)(i).) Thus,

18   Appraiser 2’s valuation of the companies treated the bitcoins as

19   being worth only about $19 each, which amounted to a 98% discount

20   from bitcoins’ price on the open market. Put another way, Appraiser 2

21

22

23        2 Ver claims that the IRS offered “amnesty” in 2019 to taxpayers
     who had not reported their cryptocurrency gains but not to him. (Ver
24   Brief at 3 n.1 (“Br.”).) That press release does nothing of the sort,
     only announcing that certain taxpayers would receive so-called
25   “educational letters” about the taxation of virtual currency. Two of
     them included a warning that if the taxpayer did “not accurately
26   report [their] virtual currency transactions, [they] may be subject
     to future civil and criminal enforcement activity.” E.g., Letter
27   6174, (6-2019), I.R.S. (July 16, 2019),
     https://www.irs.gov/pub/notices/letter_6174.pdf. Only those taxpayers
28   who had not yet filed a tax return were to receive the letter without
     the warning.
                                        4
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 14 of 49 Page ID
                                        #:253


 1   effectively valued the two companies as if they held only 1,758

 2   bitcoins, not 73,000.

 3        Employee 1, a MemoryDealers employee, provided the appraisals to

 4   Return Preparer 2-the companies’ outside accountant-for his input.

 5   (Id. ¶ 27(e)(xi).) In response, Return Preparer 2 questioned the

 6   bitcoins’ valuations, and instructed them to clarify with Appraiser 2

 7   “if the Bitcoin values are market value on the dates of valuation.”

 8   (Id.) He further explained that the “value should be: the total

 9   Bitcoins x the Average Market Price on Date of Valuation.” (Id.)

10   Employee 1 shared this response with Ver, but Ver raised no

11   objection. (Id. ¶ 27(e)(xii)-(xiii).)3 Instead, the valuations were

12   provided unchanged to Law Firm 1 and incorporated into Ver’s returns.
13   (Id. ¶ 27(e)(xiv).)
14        As for Ver’s personal bitcoin holdings, Ver told Appraiser 2
15   that he owned approximately 25,000 bitcoins himself. (Id. ¶
16   27(e)(xxvi).) For this to be true, it would mean Ver believed that of
17   his 131,000 bitcoins, his companies held 106,000, with a market value
18   of $82 million, an even larger discrepancy from the $1.4 million
19   value Appraiser 2 assigned them. (Id. ¶ 22.) Ver was thus well aware

20   that Appraiser 2’s conclusions were wrong.

21        After years of repeatedly telling his advisors that he

22   personally owned bitcoins, Ver changed course, providing a new lie

23   that he believed he had given his girlfriend all his bitcoins years

24   earlier. Ver told Lawyer 1: “[p]erhaps it will be easier for tax

25   reporting requirements if I gave all my bitcoins to my partner (not

26

27        3 Ver’s discussion of the nature of the bitcoin markets in his
     brief, e.g. Br. at 5, is irrelevant considering Ver’s
28   misrepresentations and concealments about the number of bitcoins he
     and his companies owned.
                                        5
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 15 of 49 Page ID
                                        #:254


 1   legally married wife) in Japan?” (Id. ¶ 27(e)(xxvii).) Subsequently,

 2   Ver filed a gift tax return in May 2016, falsely claiming he had

 3   gifted 25,000 bitcoins to his girlfriend in November 2011. (Id. ¶

 4   27(e)(xxix).) And yet all the while, he had continued to spend them.

 5   In fact, just a few months before he expatriated, Ver donated over $1

 6   million worth of bitcoins to charity and claimed a tax deduction for

 7   it. (Id. ¶ 11.)

 8        Unsurprisingly then, Ver’s expatriation-related tax returns,

 9   filed in May 2016, drastically misrepresented his bitcoin holdings.

10   Ver’s 2014 Initial and Annual Expatriation Statement (Form 8854) did

11   not report any personally owned bitcoins and underreported the values

12   of his companies. (Id. ¶ 27(g).) His 2014 U.S. Nonresident Alien

13   Income Tax Return (Form 1040NR) did not report or pay tax on any gain

14   from the constructive sale of any personally owned bitcoins and

15   substantially underreported gains from the constructive sales of the

16   companies. (Id. ¶ 27(f).)

17        Ver also misrepresented and concealed income he received in 2017

18   from distributions of his companies’ bitcoins to him. On June 19,

19   2017, Ver instructed Employee 1 to “close out” the bitcoin balance,

20   which caused the removal of all bitcoins as assets from his

21   companies’ financial records. (Id. ¶ 27(i)(iv).) Ver later

22   transferred tens of thousands of bitcoins to exchange accounts in his

23   name and sold them. (Id. ¶ 27(vi).) He then transferred approximately

24   $240 million to Bahamian bank accounts under his control. (Id.)

25        Ver concealed these bitcoin distributions from Return Preparer

26   1. (Id. ¶ 27(vii).) When Return Preparer 1 asked if he had received

27   any income or distributions from the companies during 2017, Ver lied

28

                                            6
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 16 of 49 Page ID
                                        #:255


 1   and said he had not.4 (Id.) Thus, Ver’s 2017 Form 1040NR did not

 2   report any gain or pay any tax related to these distributions. (Id.

 3   ¶ 27(viii).)

 4        All told, the false statements and material omissions on Ver’s

 5   2014 and 2017 returns caused at least a $48 million tax loss to the

 6   U.S. (Id. ¶ 27(j).)5

 7        B.    Procedural History

 8        A grand jury returned an indictment on February 15, 2024,

 9   charging Ver with three counts of mail fraud, in violation of 18

10   U.S.C. § 1341; two counts of tax evasion, in violation of 26 U.S.C. §

11   7201; and three counts of filing false tax returns, in violation of

12   26 U.S.C. § 7206(1).

13        At the government’s request, Ver was arrested in Spain on April

14   26, 2024. (Ex. 1 ¶ 5.) Since then, Ver has resisted the government’s

15   extradition request. (Id.) In October 2024, a Spanish court granted

16   the request. (Id.) Ver appealed. (Id.) Ver is not currently detained.

17   (Id.)

18        C.    Expatriation and the Tax Code

19        For nearly sixty years, Congress has imposed a tax on certain

20   individuals who relinquish their U.S. citizenship. See Foreign

21   Investors Tax Act of 1966, Pub. L. 89-809, 80 Stat. 1539 (codified at

22   I.R.C. § 877). In 1996, Congress added a requirement that any U.S.

23   citizen who gives up their citizenship must provide the government

24

25         4 It is irrelevant that Ver and Return Preparer 1 later
     discussed Ver’s bitcoin sales on U.S exchanges, (see Br. at 10), as
26   the taxable event was the distribution of the bitcoins, not their
     sale.
27
           5 Bizarrely, even though the indictment specifically alleges how
28   much tax Ver did not pay, Ver repeatedly claims otherwise, (Br. at 1,
     2, & 12).
                                         7
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 17 of 49 Page ID
                                        #:256


 1   with information detailing their “income, assets, and liabilities.”

 2   See Health Insurance Portability and Accountability Act, Pub. L. 104-

 3   191, 110 Stat. 1936 (now codified at I.R.C. § 6039G). Finally, in

 4   2008, Congress replaced the tax under section 877 with the current

 5   regime, which resides in section 877A of the Code. These provisions

 6   generally require the payment of an “exit tax” by certain high-income

 7   or high-net-worth expatriates and the filing of an expatriation

 8   statement.

 9                 1.   The Exit Tax

10           Loss of U.S. citizenship does not, on its own, trigger the tax
11   and is instead governed by different standards. The Immigration and
12   Nationality Act (“INA”) governs when an individual loses U.S.
13   citizenship for all purposes other than tax. See 8 U.S.C. §§ 1481-89.
14   One loses citizenship under the INA by committing certain acts,
15   including obtaining citizenship in another country or enlisting in a
16   foreign army that is engaged in hostilities against the U.S. Id. §
17   1481.
18           By contrast, under the Tax Code, an individual is still
19   considered a U.S. citizen for tax purposes until the earliest of four

20   events:

21                Renouncing one’s citizenship before a U.S. diplomatic or
22                 consular officer,
23
                  Providing the State Department with a signed statement of
24
                   voluntary relinquishment of U.S. nationality,
25

26                The State Department issues a certificate of loss of

27                 nationality, or

28

                                            8
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 18 of 49 Page ID
                                        #:257


 1               A court enters an order canceling a naturalized citizen’s
 2                citizenship.
 3

 4   I.R.C. §§ 877A(g)(4), 7701(50). Until one of these events occurs, an

 5   expatriate continues to be treated as a U.S. citizen for tax purposes

 6   and does not owe the exit tax.

 7        Once an individual relinquishes citizenship for tax purposes,

 8   section 877A imposes a tax only if they are a “covered expatriate.”

 9   Id. § 877A(a). A “covered expatriate” is defined narrowly. Other than

10   someone who fails to file the requisite certification, it only

11   applies to an individual whose:

12               Average annual net income tax (not income) exceeds $124,000
13                [in 2004 dollars, adjusted for inflation], or
14
                 Net worth on the expatriation date for tax purposes is
15
                  greater than $2,000,000.
16

17   In other words, only high-income or high-net-worth expatriates may

18   owe a tax, and even then, some do not.6

19        In determining the amount of such tax, if any, all property of a

20   covered expatriate is treated as having been sold on the day before

21   the expatriation date for the property’s fair market value. Id. §

22   877A(a)(1). A tax is owed if there is a gain above $600,000 (in 2008

23   dollars, adjusted for inflation). Id. § 877A(a)(3). Conversely, if

24

25        6 According to a recent report, less than 12% of all expatriates
     satisfied either requirement. See Treasury Inspector General for Tax
26   Administration, More Enforcement and a Centralized Compliance Effort
     Are Required for Expatriation Provisions, Oversight.gov (Sept. 20,
27
     2020),
28   https://www.oversight.gov/sites/default/files/documents/reports/2020-
     09/202030071fr.pdf.
                                        9
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 19 of 49 Page ID
                                        #:258


 1   there is a loss, the taxpayer can use those losses to offset their

 2   other income if otherwise allowed. Id. § 877A(a)(2)(B).

 3         Even then, covered expatriates have the option of deferring, for

 4   any reason, the payment of the exit tax with respect to any property

 5   until after such property is disposed of, so long as a bond is

 6   posted. Id. § 877A(b).

 7              2.   Expatriation Statement

 8         In addition to the exit tax, expatriates must provide a

 9   statement that details, among other things, their “income, assets,

10   and liabilities.” Id. § 6039G. They use Initial and Annual

11   Expatriation Statement (Form 8854), to satisfy this requirement.7

12   III. STANDARD OF REVIEW
13         Though he does not cite it, Ver presumably filed this motion
14   under Federal Rule of Criminal Procedure 12(b)(1). Importantly, such
15   motions are not vehicles to weigh the strength or weakness of the
16   government’s evidence. See United States v. Jensen, 93 F.3d 667, 669
17   (9th Cir. 1996). And “[t]he allegations of the indictment are
18   presumed to be true.” United States v. Buckley, 689 F.2d 893, 897
19   (9th Cir. 1982).

20   IV.   THE COURT SHOULD APPLY THE FUGITIVE DISENTITLEMENT DOCTRINE

21         Under the fugitive disentitlement doctrine, a party “who seeks

22   to invoke the processes of the law while flouting them has no

23   entitlement to call upon the resources of the Court for determination

24   of his claims.” Conforte v. Commissioner, 692 F.2d 587, 589 (9th Cir.

25   1982) (cleaned up). Courts exercise their discretion under this

26

27
           7See 2024 Instructions for Form 8854, IRS.gov,
28   https://www.irs.gov/instructions/i8854 (last visited January __,
     2025).
                                       10
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 20 of 49 Page ID
                                        #:259


 1   doctrine to deny pretrial relief—including motions to dismiss.8

 2   Because Ver is a fugitive, the Court should decline to rule on his

 3   motion until he is extradited.

 4        A.    Ver Is a Fugitive

 5        Ver insists that he cannot be considered a fugitive under the

 6   doctrine. (Br. at 13 n.9.) But “a defendant need not be present in

 7   and leave a jurisdiction to become a fugitive; the mere refusal to

 8   report for prosecution can constitute constructive flight,” United

 9   States v. Martirossian, 917 F.3d 883, 890 (6th Cir. 2019), including

10   when one resists extradition, Schuster v. United States, 765 F.2d

11   1047, 1050 (11th Cir. 1985). See also United States v. Shalhoub, 855

12   F.3d 1255, 1263 (11th Cir. 2017); In re Assets of Martin, 1 F.3d

13   1351, 1356 (3d Cir. 1993); United States v. Catino, 735 F.2d 718, 722

14   (2d Cir. 1984).

15        Though the Ninth Circuit has yet to address constructive flight

16   in the fugitive disentitlement context,9 it has done so in the civil

17   forfeiture context. There, a fugitive is someone who fails to “enter
18   or reenter the United States in order to avoid criminal prosecution
19   once he [learns] that . . . a warrant for his arrest [has] issued.”

20   United States v. $671,160.00 in U.S. Currency, 730 F.3d 1051, 1056

21   (9th Cir. 2013) (cleaned up). Thus, the fact that Ver was outside the

22   U.S. when he was indicted is irrelevant. His knowledge of the charges

23

24

25        8 See, e.g., United States v. Chung Cheng Yeh, No. CR 10-00231
     WHA, 2013 WL 2146572, at *3 (N.D. Cal. May 15, 2013); United States
26   v. Stanzione, 391 F. Supp. 1201, 1202 (S.D.N.Y. 1975).
27        9 See In re Han Yong Kim, 571 F. App’x 556, 557 (9th Cir. 2014)
     (finding no clear error in district court’s application of doctrine
28   to foreign national who constructively fled by refusing to
     voluntarily return).
                                       11
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 21 of 49 Page ID
                                        #:260


 1   against him and his refusal to submit to this Court’s jurisdiction

 2   makes him a fugitive. See id. at 1056-57.

 3        B.    The Equities Support Application of the Doctrine

 4        The fugitive disentitlement doctrine is equitable. United States

 5   v. Gonzalez, 300 F.3d 1048, 1051 (9th Cir. 2002). The doctrine

 6   advances several important interests. First, it “prevent[s] the entry

 7   of unenforceable judgments against absent criminal defendants.”

 8   Mastro v. Rigby, 764 F.3d 1090, 1095 (9th Cir. 2014). Second, it

 9   avoids wasting resources on defendants who effectively waived their

10   opportunity to participate in the judicial process by flouting the

11   Court’s authority. E.g., Martirossian, 917 F.3d at 890. Finally, it

12   deters flight and promotes efficient, dignified judicial proceedings.

13   Ortega-Rodriguez v. United States, 507 U.S. 234, 242 (1993). These

14   equitable considerations support applying it here.

15        First, if the court rules against Ver, its ruling is

16   unenforceable while he remains a fugitive. Courts have long declined

17   to entertain motions in such circumstances. Ortega-Rodriguez, 507

18   U.S. at 239-40; accord Smith v. United States, 94 U.S. 97, 97 (1876).

19   If Ver wants to challenge his indictment, “[a]ll he has to do is show

20   up.” Martirossian, 917 F.3d at 890. But until he does, any adverse

21   ruling would amount to an advisory opinion that Ver can merely ignore

22   from the safety of another hemisphere. Id.

23        Second, the Court need not commit time and resources to

24   resolving claims that Ver has waived by his absence. See Parretti v.

25   United States, 143 F.3d 508, 511 (9th Cir. 1998). Flight is

26   “inconsistent with the pursuit of judicial remedies” and “constitutes

27   a voluntary waiver” of a defendant’s claims while he remains a

28   fugitive. United States v. Murguia-Oliveros, 421 F.3d 951, 954 (9th

                                           12
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 22 of 49 Page ID
                                        #:261


 1   Cir. 2005). Ver’s refusal to submit to the Court’s jurisdiction thus

 2   “disentitles [him] to call upon the resources of the Court for

 3   determination of his claims.” Molinaro v. New Jersey, 396 U.S. 365,

 4   366 (1970) (per curiam).

 5        Third, most importantly, applying the doctrine here would deter

 6   Ver from further flight. Ortega-Rodriguez, 507 U.S. at 242. Given his

 7   vast financial resources and access to an oceanworthy yacht he

 8   purchased in Spain after his arrest there, (Ex. 1 ¶¶ 7-8), Ver could

 9   flee Spain. Entertaining Ver’s pre-arraignment motion and ruling

10   against him could incentivize him to do so. See Parretti, 143 F.3d at

11   510-11.

12        In contrast, when courts have declined application of the

13   doctrine, those decisions rested on considerations not present here.

14   In In re Hijazi, 589 F.3d 401 (7th Cir. 2009), the Seventh Circuit

15   declined to apply the doctrine because Hijazi–unlike Ver–challenged

16   the indictment on jurisdictional grounds, had virtually no ties to

17   the U.S., and because his extradition was impossible due to a lack of

18   an extradition treaty with Kuwait. Id. at 407; see also United States

19   v. Bescond, 24 F.4th 759, 773 (2d Cir. 2021) (declining to apply the

20   doctrine because “Bescond’s presence abroad is unrelated to the

21   American prosecution....”). Ver, by contrast, owned two U.S.-based

22   businesses and until he learned he was under investigation traveled

23   to the U.S. frequently. (Ex. 1 ¶ 9.) Only when he learned he was

24   under investigation, did he cease traveling here. (Id.)

25        In sum, Ver’s pre-arraignment motion-made from a safe distance-

26   presents exactly the sort of “heads I win, tails you lose” scenario

27   that the doctrine seeks to prevent. United States v. Terabelian, 105

28   F.4th 1207, 1218 (9th Cir. 2024). Ver “is willing to enjoy the

                                           13
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 23 of 49 Page ID
                                        #:262


 1   benefits of a legal victory, but is not at all prepared to accept the

 2   consequences of an adverse holding.” Stanzione, 391 F. Supp. at 1202.

 3   So long as he refuses to answer the indictment in the U.S., he should

 4   not get to challenge it from Spain. Applying the doctrine now would

 5   not bar the Court from ever considering his arguments. The government

 6   only requests that the Court entertain them post-extradition.

 7   V.   MERITS ARGUMENTS

 8        Ver offers three reasons why he should not have to face his

 9   criminal charges. First, he asserts that the exit tax is an

10   unconstitutional direct tax that violates the right to expatriate.

11   Second, he claims his charges rest on impermissibly vague statutory

12   foundations because the tax treatment of cryptocurrency was

13   unsettled.10 Third, Ver alleges that the government secured the

14   indictment through selective quotation. Specifically, he accuses the
15   government of selectively quoting from documents and failing to
16   present purportedly exculpatory evidence to the grand jury.
17        These arguments quickly fall apart. First, the exit tax is a
18   familiar indirect tax that falls squarely within Congress’ taxing
19   powers. Second, indictments cannot be unconstitutionally vague solely

20   because they involve bitcoins. And finally, Ver’s allegation of

21   “selective quotation” twists the facts, overlooks the role of the

22   grand jury, and does not come close to meeting the extremely high

23   standard for dismissal for due process violations. As Ver advances no

24

25
          10 Notably, these first two arguments, if accepted, would not
26   result in a dismissal of the indictment. At most, it would only
     result in the dismissal of counts 4 and 6, as these are the only
27   counts predicated solely on the exit tax. Counts 1, 2, and 7 also
     relate to Ver’s violation of his obligation to report his assets
28   under I.R.C. § 6039G. Counts 3, 5, and 8 do not concern the exit tax
     at all.
                                       14
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 24 of 49 Page ID
                                         #:263


 1   viable ground to dismiss any of his charges, if the Court reaches the

 2   merits of Ver’s arguments, it should deny his motion.

 3        A.    The Exit Tax Is Constitutional

 4              1.   The Tax Falls Within Congress’ Taxing Power

 5        Ver argues that the exit tax is an unapportioned direct tax that

 6   falls outside the Sixteenth Amendment. Ver is wrong.

 7
                     a.       The exit tax is an indirect tax that need not be
 8                            apportioned
 9        Congress enjoys broad “[p]ower [t]o lay and collect Taxes,
10   Duties, Imposts and Excises.” U.S. Const., Art. I, § 8, cl. 1. These
11   taxes take one of two forms: direct or indirect. Moore v. United
12   States, 602 U.S. 572, 582 (2024). Direct taxes must be apportioned
13   among the states according to each state’s population. U.S. Const.,
14   Art. I, § 9, cl. 4. But apportionment is difficult to achieve, so
15   virtually all federal taxation occurs through indirect methods. See
16   Moore, 602 U.S. at 582 (“Congress has not enacted an apportioned tax
17   since the Civil War.”). Indirect taxes need only be “uniform
18   throughout the United States.” U.S. Const. Art. I, § 8, Cl. 1. This
19   is a low bar. An indirect tax that applies without “actual geographic
20   discrimination” generally passes muster. United States v. Ptasynski,
21   462 U.S. 74, 85 (1983).
22        The Supreme Court has defined direct taxes extremely narrowly to
23   include only two types of taxes: capitations11 and taxes on real and
24   personal property. Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S.
25   519, 571 (2012). All other levies fall under the broad umbrella of
26

27
          11Capitations refer to taxes paid by every person “without regard
28   to property, profession, or any other circumstance.” See Hylton v.
     United States, 3 U.S. (3 Dall.) 171, 180 (1796) (opinion of Chase, J.).
                                        15
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 25 of 49 Page ID
                                         #:264


 1   indirect taxes. See Brushaber v. Union Pac. R. Co., 240 U.S. 1, 13

 2   (1916). Unlike direct taxes, indirect taxes take many forms. See

 3   Moore, 602 U.S. at 582-83. Congress can lay indirect taxes on a wide

 4   range of “activities or transactions.” Id. at 582. These include

 5   “customs and excise duties imposed on importation, consumption,

 6   manufacture, and sale of certain commodities, privileges, particular

 7   business transactions, vocations, occupations, and the like.” Thomas

 8   v. United States, 192 U.S. 363, 370 (1904). The Supreme Court has

 9   “long interpreted those categories of taxes broadly.” Moore, 602 U.S.

10   at 603 (Jackson, J., concurring). Here, the exit tax falls squarely

11   within Congress’s indirect taxing power.

12                   b.       Section 877A creates an indirect tax

13        The exit tax is an indirect duty, impost, or excise tax and thus

14   need not be apportioned. Like most indirect taxes, the tax is “laid

15   upon the happening of an event.” Tyler v. United States, 281 U.S.

16   497, 502 (1930). It is triggered upon the occurrence of one of the

17   specified acts of expatriation. I.R.C. § 877A. As detailed above,

18   supra II.C., Congress devoted a considerable portion of the statute’s

19   text to articulating the specific chain of events that must occur

20   before one becomes subject to the tax. See generally id.

21        By its nature, the exit tax cannot be direct—it falls outside

22   both categories of direct taxes the Supreme Court recognizes. See

23   Sebelius, 567 U.S at 571. It is not a capitation because it is not

24   “paid by every person, without regard to property, profession, or any

25   other circumstance.’” Id. (quoting Hylton, 3 U.S. (3 Dall.) at 175

26   (opinion of Chase, J.)) (emphasis in original). And it is “plainly

27   not a tax on the ownership of land or personal property.” Id. It

28   taxes the act of expatriation, not property ownership.

                                            16
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 26 of 49 Page ID
                                        #:265


 1        Taxes of this kind are nothing new. Since the Founding, Congress

 2   has passed—and the Supreme Court has upheld—indirect taxes aimed at

 3   specific events or activities. See Hylton, 3 U.S. (3 Dall.) at 180

 4   (1796) (tax on carriages that applied to use of the carriage and not

 5   the property itself); Knowlton v. Moore, 178 U.S. 41, 56 (1900)

 6   (estate tax, with death as the operative event); Patton v. Brady, 184

 7   U.S. 608, 623 (1902) (tax on tobacco held for sale but not yet sold);

 8   Thomas, 192 U.S. at 370-71 (tax on contracts for sales of stock);

 9   Flint v. Stone Tracy Co., 220 U.S. 107, 151 (1911) (corporate tax

10   based on “privilege of doing business in a corporate capacity”),

11   overruled on other grounds by Garcia v. San Antonio Metro. Transit

12   Auth., 469 U.S. 528 (1985); United States v. Mfrs. Nat. Bank of

13   Detroit, 363 U.S. 194, 198 (1960) (tax paid on insurance policy,

14   where the taxable event was the “maturing of the beneficiaries’ right

15   to the proceeds upon the death of the insured”); Sebelius, 567 U.S.

16   at 571 (tax on decision to not obtain health insurance).

17        Ver ignores this line of cases and insists, without analysis,

18   that indirect taxes must involve the transfer, use, or enjoyment of

19   the taxed property. (Br. at 14.) This is incorrect. While indirect

20   taxes certainly include those levied on transfers of property, they

21   also include taxes “laid upon the happening of an event, as

22   distinguished from its tangible fruits.” Tyler, 281 U.S. at 502

23   (emphasis added). Congress “undoubtedly may impose” indirect taxes

24   irrespective of any transfer, use, or enjoyment of the taxed

25   property. Id.; accord Knowlton, 178 U.S. at 56 (“[Whereas d]irect

26   taxes bear immediately upon persons, upon the possession and

27   enjoyment of rights; indirect taxes are levied upon the happening of

28   an event or an exchange.”). Such taxes survive review “even when

                                           17
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 27 of 49 Page ID
                                        #:266


 1   predicated on something that, if taxed on its own, might require

 2   apportionment or even be nontaxable.” Moore, 602 U.S. at 603

 3   (Jackson, J. concurring).

 4        The Supreme Court has consistently upheld indirect taxes aimed

 5   at specified acts or events—distinct from any transfer, use, or

 6   enjoyment of the taxed property. In the estate tax context, the Court

 7   views death as the operative event, not the transfer of the

 8   decedent’s property to a successor. See Tyler, 281 U.S. at 502;

 9   Knowlton, 178 U.S. at 81-83 (rejecting the theory that excise taxes

10   include only taxes that can be “shift[ed],” such as from a

11   manufacturer or retailer to a consumer). Likewise, the Court has

12   upheld corporate income taxes as indirect taxes on “the actual doing

13   of business in a certain way.” Flint, 220 U.S. at 150. Congress may

14   even tax inaction. See Sebelius, 567 U.S. at 571. In Sebelius, the

15   Supreme Court upheld a tax, labeled a “shared responsibility

16   payment,” laid on people who did not obtain health insurance. Id. The

17   Court found the payment was not a direct tax, explaining that “[t]he

18   whole point of the shared responsibility payment is that it is

19   triggered by specific circumstances—earning a certain amount of

20   income but not obtaining health insurance.” Id.

21        Just as Congress may impose a tax based on foregoing health

22   insurance, it may also impose a tax based on foregoing U.S.

23   citizenship. See id. at 571-74. Like the shared responsibility

24   payment in Sebelius, the exit tax applies to a specific circumstance—

25   here, certain acts of expatriation. I.R.C. § 877A. And because it is

26   not a capitation or a naked levy on land or personal property, it

27   cannot be a direct tax. See Sebelius, 567 U.S. at 571. Instead, the

28

                                           18
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 28 of 49 Page ID
                                         #:267


 1   exit tax falls squarely within Congress’s broad indirect taxing

 2   power. See id.

 3                    c.      Expatriation involves a transfer of property

 4        Even under Ver’s flimsy theory that indirect taxes require some

 5   transfer, use, or enjoyment of property, section 877A is still an

 6   indirect tax. Expatriation fundamentally changes the status of an

 7   expatriate’s assets. “The United States was historically and

 8   continues to be virtually unique in taxing its citizens, wherever

 9   resident, on their worldwide income, solely by reason of their

10   citizenship.” Crow v. Commissioner, 85 T.C. 376, 380 (1985). By

11   contrast, nonresident noncitizens are taxed only on income earned in

12   the U.S. See Kuntz & Peroni, U.S. Int’l Tax, Nondiscrimination

13   Clauses, ¶ C4.20, 2000 WL 530244, at *3 (2024). Thus, in substance,12

14   when a citizen expatriates and leaves the U.S., his assets follow
15   him. Like a decedent’s estate—where the decedent’s assets transfer
16   automatically to a separate taxable entity upon his death—
17   expatriation effectively transfers the expatriate’s assets from a
18   U.S. citizen who ceases to exist to a non-U.S. citizen who is newly
19   born. Cf. Murphy v. I.R.S., 493 F.3d 170, 185 (D.C. Cir. 2007) (tax

20   on “involuntary conversion” of “human capital” into a personal injury

21   damages award was an indirect tax).

22        When Ver expatriated, his assets effectively transferred from

23   Ver-the-U.S.-citizen to Ver-the-Kittitian-citizen. Those assets

24   ceased to be further taxable by the U.S. unless earned here. This

25   presents the sort of transfer of property that Ver claims,

26

27        12“It is a black-letter principle that, in construing and
     applying the tax laws, courts generally follow substance over form.”
28   Mazzei v. Commissioner, 998 F.3d 1041, 1054 (9th Cir. 2021) (cleaned
     up).
                                       19
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 29 of 49 Page ID
                                         #:268


 1   incorrectly, indirect taxes require. Thus, even accepting his

 2   argument’s flawed premise, section 877A would still lay an indirect

 3   tax.

 4                    d.      Even if the exit tax is a direct tax, it still

 5                            passes constitutional muster

 6          Under the Sixteenth Amendment, even unapportioned direct taxes

 7   are constitutional if they are income taxes. Ver contends the exit

 8   tax is not a tax on income because there must be a realization event.

 9   (Br. at 15.) But that is not the law.

10          In Moore v. United States, the Ninth Circuit was clear that

11   “whether the taxpayer has realized income does not determine whether

12   a tax is constitutional” and that “the Supreme Court has made clear

13   that realization of income is not a constitutional requirement.” 36

14   F.4th 930, 936 (9th Cir. 2022), aff’d, 602 U.S. 572 (2024). Ver

15   attempts to reframe this decision as merely recognizing that

16   realization can occur even if someone else other than the taxpayer

17   realized the income. (Br. at 15-16.) But it cannot be true that both

18   “realization is not a constitutional requirement,” as the Ninth

19   Circuit held, and that realization by someone is a requirement. Id.

20   Moore thus forecloses Ver’s realization theory.

21          Ver’s three attempts to escape Moore’s on-all-fours holding all

22   fail. First, to justify this purported “core rule” he cites a two-

23   justice concurrence and the dissent in the Supreme Court’s Moore

24   decision. Yet, the five-justice majority made clear that it was not

25   deciding or addressing the realization issue. 602 U.S. at 588 n.3.

26   Thus, whatever value they do hold, the concurrence and the dissent

27   carry no force of law.

28

                                            20
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 30 of 49 Page ID
                                        #:269


 1        Second, Ver relies heavily on Eisner v. Macomber, 252 U.S. 189

 2   (1920). (Br. at 13, 15.) But Macomber was “promptly and sharply

 3   criticized” and limited to its facts. Helvering v. Griffiths, 318

 4   U.S. 373, 375 (1943). The Ninth Circuit has also held that to the

 5   extent Macomber “purported to offer a comprehensive definition of the

 6   term income as used in the Sixteenth Amendment, it has been

 7   discarded,” United States v. James, 333 F.2d 748, 752 (9th Cir.

 8   1964), a view shared by many courts, see Moore, 602 U.S. at 602 & n.1

 9   (Jackson, J. concurring) (collecting cases). It is no wonder then

10   that Justice Jackson warned that “any litigant seeking to sustain her

11   case on the basis of Macomber would have to bring back from the dead

12   its Court-created limit on Congress’s power.” Moore, 602 U.S. at 602.

13        Third, Ver also contends that the Ninth Circuit’s rejection in

14   Moore of a realization requirement was mere dicta. (Br. 16 n.10.) But

15   Ver fails to explain why, instead attacking the reasoning of the

16   Ninth Circuit’s holding (which was correct for the reasons stated

17   above). If anything, it was an alternative holding which remains

18   binding Circuit precedent. See Best Life Assur. Co. of California v.

19   Commissioner, 281 F.3d 828, 834 (9th Cir. 2002) (“[W]here a decision

20   rests on two or more grounds, none can be relegated to the category

21   of obiter dictum.”) (citation omitted).

22        Regardless, if the type of strict realization requirement

23   advocated by Ver were accepted, it would call into question numerous

24   other provisions of the Tax Code where Congress imposes taxes on

25   assets constructively sold at the end of a taxable year, including

26   regulated futures contracts, I.R.C. § 1256(a) and (b); securities

27   held by securities dealers, I.R.C. § 475(a); certain assets held by

28   life-insurance companies, I.R.C. § 817A(b); and certain stock in

                                           21
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 31 of 49 Page ID
                                         #:270


 1   passive foreign investment companies, I.R.C. § 1296(a). And Congress

 2   taxes holders of discounted debt instruments on imputed interest

 3   payments, even though no interest was actually paid, I.R.C. §

 4   1272(a)(1)-a factor that drives prices in bond markets. Other

 5   examples abound. See, e.g., I.R.C. § 305(c) (treating certain

 6   transactions, such as “a change in redemption price,” as deemed

 7   distributions to shareholders); I.R.C. § 467(a) (taxing lessors on

 8   accrued rental payments, even if the payments are not made during the

 9   taxable year); I.R.C. § 1259 (taxing persons on gains based on “a

10   constructive sale of an appreciated financial position”).

11                   e.       Even if realization is required, it is satisfied

12        Assuming arguendo, realization is a requirement, it is satisfied

13   here. The Supreme Court has long recognized that realization is not

14   equivalent to cash being placed in a taxpayer’s hand. Diedrich v.

15   Commissioner, 457 U.S. 191, 195 (1982). Realization may occur “by a

16   variety of indirect means” that result in a taxpayer being “placed in

17   a better position.” Id. Thus, when a gain has accrued, Congress is

18   entitled to “choose the moment of its realization and the amount

19   realized, for the incidence and the measurement of the

20   tax.” MacLaughlin v. All. Ins. Co. of Philadelphia, 286 U.S. 244, 250

21   (1932); see 1 Mertens Law of Fed. Income Tax’n § 5:5 (Mar. 2023)

22   (realization can occur by statute).

23        The Supreme Court’s decision in Cottage Saving Ass’n v.

24   Commissioner is instructive. 499 U.S. 554, 565 (1991). There, the

25   Court held that realization occurs when a change causes a property

26   owner to “enjoy legal entitlements that are different in kind or

27   extent.” Id. at 565. In so holding, it looked towards a trio of

28   decisions from the 1920s about corporate reorganizations. Id. at 562-

                                            22
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 32 of 49 Page ID
                                        #:271


 1   65 (discussing United States v. Phellis, 257 U.S. 156 (1921); Weiss

 2   v. Stearn, 265 U.S. 242 (1924); Marr v. United States, 268 U.S. 536

 3   (1925)). In all three, shareholders of a corporation received shares

 4   in a newly formed corporation that was to hold the same property and

 5   conduct the same business as the old ones. Id. In Phellis and Marr,

 6   however, the new corporations were formed in different states such

 7   that the shareholders’ shares had “different rights and powers in the

 8   same corporation.” Id. at 565. As such, the Supreme Court held, “as

 9   long as the property entitlements are not identical, their exchange

10   will allow both the Commissioner and the transacting taxpayer easily

11   to fix the appreciated or depreciated values of the property relative

12   to their tax bases.” Id.

13        Similarly here, the act of expatriating and the transfer of

14   Ver’s property from Ver-the-U.S.-Citizen to Ver-the-nonresident-alien

15   changed his legal relationship to his property. For example, consider

16   his ownership of MemoryDealers and Agilestar. Before expatriation,

17   both were S-Corporations that were not separate taxpayers. A

18   distribution of property, such as bitcoins, would only be taxed once

19   to the shareholder. After expatriation, by operation of law, their

20   legal relationship changed. Both companies became C-Corporations, see

21   I.R.C. § 1361(a)(2), and were separate taxpayers. Thus, a

22   distribution of those same bitcoins could result in both the

23   corporations and Ver owing tax. Ver’s entitlements vis-a-vis the

24   corporations and their property are not the same, allowing “both the

25   Commissioner and the transacting taxpayer easily to fix the

26   appreciated or depreciated values of the property relative to their

27   tax base.” Cottage Sav., 499 U.S. at 565.

28

                                           23
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 33 of 49 Page ID
                                         #:272


 1        Moreover, section 877A explicitly allows a taxpayer to defer the

 2   tax until disposition, a quintessential realization event. I.R.C. §

 3   877A(b)(1). Although there are some conditions, the option to defer

 4   payment until the time that the taxpayer receives the economic value

 5   satisfies the type of realization contemplated by some Supreme Court

 6   justices. Moore, 602 U.S. at 611 (Barrett, J., concurring)

 7   (“realization may take many forms” and “a rigid definition does not

 8   capture them all”).

 9               2.   The Tax Does Not Violate Due Process

10        Ver’s argument that section 877A unconstitutionally burdens the
11   right to expatriate fails. First, section 877A imposes no burden on
12   it; it merely eliminates any tax benefit from expatriation to certain
13   expatriates. Second, the right of these citizens to expatriate tax-
14   free is not a fundamental right protected by the Fifth Amendment’s
15   Due Process Clause. Third, the statute withstands any level of
16   scrutiny.
17                    a.      Section 877A does not burden expatriation
18        Ver paints the tax as some multi-million-dollar tax imposed on
19   all expatriates. But that is inaccurate. It is only imposed upon

20   those who expatriate and are high-net-worth or high-income

21   individuals. Furthermore, no tax is owed unless the gain from the

22   constructive sale exceeds a high threshold. So, to the extent the tax

23   is a burden, it only burdens a small subset.

24        It also imposes no burden on expatriation as such. The INA

25   provides the statutory right to expatriate by specifying several

26   mechanisms for individuals to expatriate-none of which is conditioned

27   on paying the tax. 8 U.S.C. § 1481(a) et seq. Further, nothing

28

                                            24
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 34 of 49 Page ID
                                         #:273


 1   precludes the State Department from issuing a Certificate of Loss of

 2   Nationality (“CLN”) based on the failure to pay the tax. See id.

 3        And the separate tax that section 877A imposes is essentially

 4   “tax neutral.” It only imposes taxes that would have been imposed had

 5   the taxpayer remained a U.S. citizen and disposed of their

 6   property. See I.R.C. § 877A(a)(1) & (2). In fact, it imposes a lower

 7   tax, because it exempts $600,000 (adjusted for inflation) in gain.

 8   See id. § 877A(a). At most, it changes only the timing of recognition

 9   of that gain, and, even then, expatriates may defer payment. See id.

10   § 877A(b).

11        Furthermore, legislative history confirms Congress did not

12   intend to punish or deter citizens from expatriating. The Senate

13   Report states:

14                The Committee does not believe that the Internal
                  Revenue Code should be used to stop U.S. citizens
15                and residents from relinquishing citizenship or
                  terminating residency; however, the Committee also
16
                  does not believe that the Code should provide a
17                tax incentive for doing so. In other words, to the
                  extent possible, an individual’s decision to
18                relinquish citizenship or terminate residency
                  should be tax-neutral.
19

20   S. Rep. No 110-1, at 43 (2007).

21        Section 877A thus does not burden the right to expatriate.

22                     b.     Expatriation is not a fundamental right

23        Ver’s claim that expatriation is a fundamental constitutional

24   right is wrong. The Due Process Clause affords heightened protection

25   for certain enumerated or implied rights. Dep’t of State v. Munoz,

26   602 U.S. 899, 910 (2024); Washington v. Glucksberg, 521 U.S. 702, 720

27   (1997) (collecting cases). The Constitution is silent on

28   expatriation, so Ver must be asserting an implied right.

                                            25
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 35 of 49 Page ID
                                        #:274


 1        Contrary to Ver’s argument, “the Supreme Court has not

 2   recognized that the right to abandon one's citizenship constitutes a

 3   constitutional right.” Sze v. Johnson, 172 F. Supp. 3d 112, 121

 4   (D.D.C. 2016) (emphasis in the original), aff’d sub nom, Sze v.

 5   Kelly, 2017 WL 2332592 (D.C. Cir. 2017) (per curiam); see also

 6   L'Association des Américains Acc. v. Dep’t of State, 656 F. Supp. 3d

 7   165, 179 (D.D.C. 2023)

 8        Ver misleadingly suggests, (Br. at 17), that the Supreme Court

 9   found such a right in Glucksberg and Savorgnan v. United States, 338

10   U.S. 491 (1950). But Glucksberg only concerned assisted suicide, not

11   expatriation. 521 U.S. 702. In Savorgnan, while the Court stated in

12   dicta that, traditionally, the U.S. has supported the right of

13   expatriation, it also recognized there was a “common-law prohibition

14   of expatriation without the consent of the sovereign.” 338 U.S. at

15   497.13 It would be inconsistent with the concept of a fundamental

16   constitutional right to require congressional consent before citizens
17   could exercise it.
18        Ver also mischaracterizes Murray v. The Charming Betsy, 6 U.S.(2
19   Cranch) 64 (1804) and Maehr v. Dep’t of State, 5 F.4th 1100 (10th

20   Cir. 2021). Regarding The Charming Betsy, he quotes from counsel’s

21   argument, not the Court’s opinion, which begins 20 pages later and

22   explicitly declined to decide whether expatriation was possible. Id.

23   at 115-20. As to Maehr, Ver claims to be referencing the court’s

24   holding. But he actually cites to a concurrence. The majority said

25   nothing about expatriation. Id. at 1119-22.

26

27        13Ver quotes from the Preamble to the 1868 Act. (See Br. at 17.)
     As Savorgnan made clear, the Preamble was just Congress’s
28   “declaration of policy”, and the Act sought to “apply especially to
     immigrants into the United States.” 338 U.S. at 498 & n.11.
                                       26
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 36 of 49 Page ID
                                        #:275


 1        Finally, Ver relies on dicta from Richards v. Sec’y of State,

 2   752 F.2d 1413 (9th Cir. 1985). (See Br. at 17.) In that pre-

 3   Glucksberg case, the panel quoted the 1868 Act’s Preamble and cited

 4   Afroyim v. Rusk, 387 U.S. 253 (1967), for the proposition that the

 5   right to voluntary expatriation was “placed” “on a constitutional

 6   footing.” Id. at 1422. Ver quotes from an errant phrase used only

 7   once by the panel to describe appellant’s argument. See id. That off-

 8   the-cuff remark should not be construed as creating a fundamental

 9   right on par with freedom of speech or marriage rights. Also, the

10   panel did none of the careful and rigorous analysis Glucksberg later

11   required when recognizing new constitutional rights, as discussed

12   below.

13        Moreover, the panel’s dicta misconstrued Afroyim, which involved

14   the interpretation of the Fourteenth Amendment’s Citizenship Clause,

15   not the Fifth Amendment’s Due Process Clause. 387 U.S. at 268.

16   Afroyim simply held that there is a right against involuntary

17   expatriation and said nothing about the right to expatriate

18   voluntarily. See id.; also Sze, 172 F. Supp. 3d at 121.14

19        This Court should not take the extraordinary step of

20   recognizing-for the first time-a fundamental right to expatriation.

21   The Supreme Court has cautioned courts to “exercise the utmost care”

22

23

24        14Ver references 19 U.S.C. § 2432(a), which denies trade
     benefits to countries that impose burdensome emigration taxes. But
25   this provision concerns emigration (changing locality), not
     expatriation (changing citizenship). Further, if it were as Ver
26   claims, then the statute would require denying trade benefits to
     countries like Canada, which impose an exit tax. See Income Tax Act,
27   R.S.C. 1985, c.1, § 128.1(4)(b); see also Andrew Appleby, No
     Migration Without Taxation: State Exit Taxes, 60 HARV. J. ON LEGIS. 55,
28   66 (2023) (“many nations have implemented national level exit
     taxes”).
                                       27
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 37 of 49 Page ID
                                        #:276


 1   before “break[ing] new ground” in identifying unenumerated rights.

 2   Glucksberg, 521 U.S. at 720.

 3          To do so, this Court would need to engage in a lengthy

 4   historical analysis, which Ver does not address. Such an analysis

 5   first requires a “careful description” of the asserted fundamental

 6   liberty interest, id., which may demonstrate that a court need not

 7   decide whether a broad right exists, e.g., San Antonio Indep. Sch.

 8   Dist. v. Rodriguez, 411 U.S. 1, 37 (1973). Here, Ver’s asserted

 9   liberty interest is the right for similarly situated high-net-worth

10   individuals to expatriate tax-free. (Br. at 17-19.) Then, it requires

11   analyzing whether such a right is “deeply rooted in the Nation’s

12   history and tradition.” Glucksberg, 521 U.S. at 720-21. Here, it is

13   not.

14          First, as discussed above, under the common law there was no

15   right to renounce one’s citizenship without the consent of the

16   government. Afroyim, 387 U.S. at 258; see also Shanks v. Dupont, 28

17   U.S. (3 Pet.) 242, 246 (1830).

18          Congress gave such consent for the first time in the

19   Expatriation Act of 1907, Pub. L. No. 59-193, 34 Stat. 1228. This

20   statute “prescribe[d] the only means by which the expatriation of a

21   native-born American citizen may be accomplished.” Yin v. United

22   States, 31 F.2d 738, 739 (9th Cir. 1929). What is then “deeply

23   rooted” in this Nation’s history and tradition is that Congress can

24   prescribe whether and under what circumstances one can expatriate.15

25

26
            Also, the writ of ne exeat republica, which forbids a citizen
            15
27   from leaving the country, demonstrates that, historically, there have
     been limits on a citizen’s right to leave, including to ensure the
28   collection of their tax debts. See United States v. Shaheen, 445 F.2d
     6, 9-10 (7th Cir. 1971).
                                       28
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 38 of 49 Page ID
                                         #:277


 1        Recognizing a fundamental right here would also conflict with

 2   longstanding Supreme Court authority recognizing that the Due Process

 3   Clause “is not a limitation upon the taxing power conferred upon

 4   Congress.” Brushaber, 240 U.S. at 24 (collecting cases). Were it

 5   otherwise, the Constitution would “conflict with itself by

 6   conferring, upon the one hand, a taxing power, and taking the same

 7   power away, on the other, by the limitations of the due process

 8   clause.” Id. The Due Process Clause thus only limits taxes that are

 9   either takings-in-disguise or fail rational basis review. Id. at 24-

10   25; accord Barclay & Co. v. Edwards, 267 U.S. 442, 450 (1924); see

11   also Chiles v. United States, 843 F.2d 367, 370-71 (9th Cir. 1987)

12   (citing Brushaber, rejecting claim that tax unduly impinged

13   constitutional right to interstate travel).

14        In sum, there is no fundamental right to expatriate deeply

15   rooted in the Nation’s history and tradition. This Court should not

16   now create one.

17                     c.     Section 877A passes rational basis and strict

18                            scrutiny

19        Because the right to expatriate tax-free is not a fundamental

20   right, section 877A need only bear a “reasonable relation to a

21   legitimate state interest.” United States v. Juvenile Male, 670 F.3d

22   999, 1012 (9th Cir. 2012). Regardless, section 877A would also

23   satisfy strict scrutiny because it is narrowly tailored to further a

24   compelling government interest. See Juvenile Male, 670 F.3d at 1012.

25        Maintaining a sound tax system is a compelling government

26   interest. See United States v. Rodgers, 461 U.S. 677, 711 (1983);

27   United States v. Lee, 455 U.S. 252, 260 (1982). Likewise, the

28   government has a compelling interest in ensuring that the tax code

                                            29
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 39 of 49 Page ID
                                        #:278


 1   does not incentivize U.S. citizens to expatriate to evade their U.S.

 2   taxes. And the exit tax is narrowly tailored. It is tax-neutral,

 3   provides a substantial exemption, and permits deferred payment. Thus,

 4   it satisfies rational basis review or strict scrutiny.

 5        B.    Ver’s Void-For-Vagueness Challenge Fails

 6        Ver presents a confusing hodgepodge of irrelevant facts and

 7   arguments to claim that the indictment should be dismissed because it

 8   is unconstitutionally vague. Nowhere does he identify the specific

 9   statute he believes is vague. Instead, he appears to argue that the

10   entire Tax Code is unconstitutionally vague as applied to

11   cryptocurrency. (See Br. at 27.) But the actual charged crimes are

12   not vague, nor are the specific underlying tax rules. Ver’s claims

13   are nothing more than an attempt to recast willfulness arguments,

14   which are inappropriate here, into constitutional ones and should

15   therefore be rejected.

16              1.   Unconstitutional Vagueness Is a High Bar

17        Acts of Congress enjoy “strong presumptive validity,” United
18   States v. Nat’l Diary Prods. Corp., 372 U.S. 29, 32 (1963), and
19   courts must “construe, not condemn, Congress’ enactments,” whenever

20   possible. Skilling v. United States, 561 U.S. 358, 403 (2010). A

21   criminal law is void only “if it is so vague that it fails to give

22   ordinary people fair notice of the conduct it punishes, or so

23   standardless that it invites arbitrary enforcement.” United States v.

24   Lucero, 989 F.3d 1088, 1101 (9th Cir. 2021). “What renders a statute

25   vague is not the possibility that it will sometimes be difficult to

26   determine whether the incriminating fact it establishes has been

27   proved; but rather the indeterminacy of precisely what that fact is.”

28   United States v. Williams, 553 U.S. 285, 306 (2008). Indeed, “perfect

                                           30
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 40 of 49 Page ID
                                        #:279


 1   clarity and precise guidance have never been required.” Id. at 308.

 2   So long as there is some standard, it does not matter how “time-

 3   consuming, difficult, and expensive to determine whether” something

 4   falls within that standard. Lucero, 989 F.3d at 1102. Finally, in

 5   determining whether a statute is vague, a court should look to prior

 6   judicial decisions. Id. at 1102 n.11.

 7               2.   The Charges as Applied Are Not Vague

 8          Ver demands that the indictment be dismissed because there was

 9   not precise guidance on the overall taxation of bitcoins. (See Br. at

10   19.) Not only has no court required such precision, but the operative

11   statutes offer the necessary standards to ensure a person of ordinary

12   intelligence had fair notice that (1) upon expatriation bitcoins had

13   to be reported to the IRS and that a tax had to be paid on any gain,

14   and (2) that the distribution of bitcoins could constitute a taxable

15   dividend.

16          Ver does not argue that a person of ordinary intelligence did

17   not have notice that lying to cheat another of money, evading one’s

18   taxes, or lying on a tax return were prohibited. Instead, he asserts

19   that the charges are vague because it had not been definitively

20   established that bitcoins were “property” under the Tax Code, upon

21   which the exit tax must be paid, because they could be foreign

22   currency. (See Br. at 19.) But this argument rests on an entirely

23   false dichotomy—foreign currency is property under the Tax Code. See

24   infra V.B.2.a. Either way, bitcoins are clearly subject to the exit

25   tax.

26          Relying solely on section 877A, Ver ignores sections 6039G and

27   301, the other operative tax provisions here, see supra 14 n.10,

28

                                           31
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 41 of 49 Page ID
                                         #:280


 1   which use different language and are an independent reason to deny

 2   Ver’s motion. Nevertheless, each provision will be discussed in turn.

 3                   a.       Section 877A is clear

 4        Section 877A lays out plain rules for when expatriates owe the

 5   exit tax, on what property, and how to calculate it.16 Under those

 6   rules, as described above, “all property of a covered expatriate

 7   shall be treated as sold on the day before the expatriation date for

 8   its fair market value.” I.R.C. § 877A(a)(1) (emphasis added). “Fair

 9   market value” is such a well-established concept in the law that it

10   is a standard that “truly is ubiquitous,” Estate of Elkins v.

11   Commissioner, 767 F.3d 443, 449 (5th Cir. 2014). As the Supreme Court

12   and the Ninth Circuit have made clear, in such circumstances, there

13   is no constitutional concern even if there is some difficulty in

14   application. Williams, 553 U.S. at 306; Lucero, 989 F.3d at 1101.

15        That leaves the definition of “property” in I.R.C. § 877A.

16   Because this is an as-applied challenge, this Court only need

17   consider whether Ver had fair notice that his conduct was unlawful—in

18   other words, that bitcoins could be property. See United States v.

19   Harris, 705 F.3d 929, 932 (9th Cir. 2013). They clearly were.

20        Ver tries to muddy the waters by pointing to three so-called

21   “ideal analogs” for the treatment of bitcoins-foreign currency, non-

22   currency capital assets, and financial instruments-and suggesting

23   that their tax treatment under the exit tax may vary. (See Br. at 23-

24   25.) Unfortunately for Ver, the law is clear: each constituted

25   “property” under the Code and thus were subject to the exit tax.

26

27

28        16Ver does not argue that the provisions that determine whether
     one is a covered expatriate are unconstitutionally vague.
                                       32
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 42 of 49 Page ID
                                        #:281


 1        First, Ver asserts that bitcoins might be foreign currency. (See

 2   Br. at 22-24.) This is irrelevant, as “foreign currency is generally

 3   considered to be ‘property’ for Federal income tax purposes.” Nat’l

 4   Standard Co. v. Commissioner, 80 T.C. 551, 558 (1983), aff’d, 749

 5   F.2d 369 (6th Cir. 1984); accord Tiger Eye Trading, LLC v.

 6   Commissioner, 138 T.C. 67, 83 n.22 (2012), aff’d in part, rev’d in

 7   part on other grounds by Logan Trust v. Commissioner, 616 F. App’x

 8   426 (D.C. Cir. 2015).

 9        Second, Ver claims that bitcoins might be non-currency capital

10   assets, which he describes as “property, other than foreign

11   currency.” (Br. at 24.) But a non-currency capital asset is also

12   “property” under the Code. See I.R.C. § 1221 (“[T]he term ‘capital

13   asset’ means property held by the taxpayer.”). Thus, it is subject to

14   the exit tax. Ver’s discussion of the differing accounting treatments

15   is irrelevant because they only apply when one sells “part of [their]

16   holdings,” (Br. at 24), while the exit tax requires one to value the

17   entirety.

18        Third, Ver hypothesizes that bitcoins might be treated as a

19   single financial instrument that could impact the computation of its

20   tax basis and holding period.17 Whatever the import or foundation of

21   this argument, it nevertheless remains irrelevant. Ver was not

22   indicted for miscalculating the holding period or tax basis of his

23   bitcoins. He was indicted because he lied about and concealed the

24   number and value of his bitcoins. Any purported ambiguity in

25   computing the basis or holding period for bitcoins is irrelevant if

26   one, like Ver, conceals the truth about how many bitcoins they own.

27

28        17He does not argue that it is unclear whether a “financial
     instrument” is “property.”
                                      33
     Case 2:24-cr-00103-MWF    Document 34 Filed 01/13/25   Page 43 of 49 Page ID
                                         #:282


 1        In addition, Ver’s arguments regarding IRS Notice 2014-21 are

 2   unavailing. He argues that the Notice treats bitcoin as “property and

 3   not virtual18 currency.” (Br. at 25.) But the Notice does not state

 4   that property and foreign currency are mutually exclusive, which is

 5   consistent with the law discussed supra that recognizes foreign

 6   currency as a type of property.

 7        Ver’s remaining arguments as to the Notice’s validity are thus

 8   irrelevant and regardless fail. Ver suggests the Notice could not

 9   have guided him because it was issued after he expatriated. (See Br.

10   at 21, 25.) But the relevant charged crimes were not consummated

11   until at least 2016, when he filed his false expatriation-related tax

12   returns. Thus, he had the requisite notice when he filed his returns

13   two years after Notice 2014-21 issued.

14        And Ver’s claim, (Br. at 26-27), that Loper Bright Enters. v.

15   Raimondo, 603 U.S 369 (2024), undermined the Notice is wrong. Loper

16   Bright altered the deference given to agency regulations, id. at 412-

17   13, but the Notice is not a regulation, so it was not given Chevron

18   deference in any event. See United States v. Mead, 533 U.S. 218, 226-

19   27 (2001).

20                   b.       Sections 6039G and 301 are clear

21        In moving to dismiss, Ver appears to have forgotten that his

22   obligation to file a Form 8854 comes from an entirely different

23   provision of the Code. And that provision does not use the “property”

24   standard of which he complains. Rather, section 6039G requires

25   expatriates to file a statement detailing their “income, assets, and

26

27
          18It appears from context that Ver’s reference to “virtual
28   currency” is a typographical error and he intended to say “foreign
     currency.”
                                       34
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 44 of 49 Page ID
                                        #:283


 1   liabilities.” Having made no argument that this provision is

 2   unconstitutionally vague, Ver’s motion to dismiss these counts should

 3   be denied outright. Regardless, the standard for determining what

 4   constitutes an “asset,” and specifically whether bitcoins were

 5   assets, is clear. In fact, Ver repeatedly describes bitcoin as an

 6   “asset” in his brief. (See Br. at 7, 10, 20, 21, 22, 26 & n.36.)

 7        Additionally, counts 3, 5, and 8 charge conduct unrelated to the

 8   exit tax. Instead, they allege that Ver lied to his return preparer

 9   about receiving hundreds of millions of dollars’ worth of his

10   companies’ bitcoins in 2017, which resulted in Ver filing a false tax

11   return. The distribution would have constituted a taxable dividend,

12   defined as “a distribution of property (as defined in section

13   317(a)).” I.R.C. § 301(a). Section 317(a) defines “property” broadly

14   as “money, securities, and any other property.” Once again, Ver’s

15   false property-versus-foreign currency distinction is irrelevant

16   because the statute plainly applies to both.

17              3.   Ver Had Notice

18        Ver’s protestations about the uncertainty of the taxation of
19   bitcoins are purely hypothetical, as the indictment makes clear that

20   Ver understood precisely what the rules required of him. He simply

21   chose to break them. The indictment outlines numerous instances where

22   either Ver was advised that he had to report and pay tax on his and

23   his companies’ bitcoin holdings or that demonstrate Ver understood he

24   was required by law to do so. (See, e.g., Indictment ¶¶ 27(b)(ii),

25   (b)(v), (e)(ii), (e)(iv), (e)(vii), (e)(xvi), (e)(xxii), (e)(xxv).)

26   Since he had actual notice, it strongly weighs against finding the

27   statutes vague as applied to him. See Kashem v. Barr, 941 F.3d 358,

28   373 (9th Cir. 2019).

                                           35
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 45 of 49 Page ID
                                        #:284


 1              4.   Scienter Requirements Eliminate Any Vagueness Concern

 2        The three criminal statutes charged here are specific intent

 3   crimes, which eliminates any potential vagueness concerns. See

 4   Kawashima v. Holder, 565 U.S. 478, 483 (2012) (false returns); United

 5   States v. Fisher, 607 F. App’x 645, 647 (9th Cir. 2015) (evasion);

 6   United States v. Jinian, 725 F.3d 954, 960 (9th Cir. 2013) (mail

 7   fraud). Indeed, “[a] scienter requirement in a statute alleviates

 8   vagueness concerns, narrows the scope of its prohibition and limits

 9   prosecutorial discretion.” McFadden v. United States, 576 U.S. 186,

10   197 (2015) (cleaned up). This is because the specific intent elements

11   “relieve the statute[s] of the objection”-which Ver has pressed here-

12   “that it punishes without warning an offense of which the accused was

13   unaware.” Screws v. United States, 325 U.S. 91, 101-02 (1945).

14        C.    Ver’s “Selective Quotation” Argument Is Meritless

15        Lastly, relying on a tortured characterization of the

16   indictment, Ver seeks dismissal by claiming it relies on “selective

17   quotation” of certain communications. The indictment does nothing of

18   the sort.19

19        In extremely rare circumstances, a district court may dismiss an

20   indictment based on egregious due process violations, or when it

21   finds dismissal is warranted under its supervisory powers. See United

22   States v. Bundy, 968 F.3d 1019, 1030 (9th Cir. 2020). These grounds

23   are extraordinarily narrow. See United States v. Isgro, 974 F.2d

24

25
          19Ver’s claim of interference with his attorney-client privilege
26   is a red herring. The government did no such thing, and regardless,
     the Ninth Circuit has foreclosed the argument. United States v.
27   Rogers, 751 F.2d 1074, 1079 (9th Cir. 1985) (“[I]nducement of a
     violation of an [attorney’s] ethical obligation of confidentiality .
28   . . does not warrant dismissal of an indictment that results from
     that investigation.”).
                                       36
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 46 of 49 Page ID
                                        #:285


 1   1091, 1097 (9th Cir. 1992). “One challenging an indictment carries a

 2   difficult burden.” United States v. Al Mudarris, 695 F.2d 1182, 1185

 3   (9th Cir. 1983).

 4        Dismissal on constitutional grounds requires a finding of

 5   pervasive and systemic misconduct that undermines and infringes upon

 6   the grand jury's independent judgment and impartiality. See Isgro,

 7   974 F.2d at 1095. The misconduct must be “grossly shocking” and so

 8   “outrageous as to violate the universal sense of justice.” United

 9   States v. Kearns, 5 F.3d 1251, 1254 (9th Cir. 1993). Similarly,

10   dismissal under a court’s supervisory powers requires “flagrant

11   misbehavior” by the government and “substantial prejudice” to the

12   defendant. Id. at 1253.

13        Here, there was no misconduct by the government, let alone the

14   kind of flagrant misbehavior necessary to justify dismissal. Nothing

15   in Ver’s motion suggests that the grand jury was misled. The

16   government stands behind the allegations in the indictment, and Ver’s

17   exhibits only demonstrate their accuracy.

18        Attempting to carry his “difficult burden,” Ver identifies four

19   allegations in the 26-page indictment that supposedly evidence a

20   pattern of “selective presentation.” But they do not.

21        The first involves paragraph 27(c), which alleges a conversation

22   that occurred in December 2013. In “support,” Ver points to an email

23   from April 2013. Ver must be aware that December and April are

24   different such that the indictment could not possibly “misleadingly”

25   summarize a December 2013 conversation by not incorporating

26   statements made eight months earlier.

27        The second involves paragraph 27(e)(vi), which summarizes an

28   email exchange between Ver and his advisors in August 2015. In

                                           37
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 47 of 49 Page ID
                                        #:286


 1   “support,” Ver once again offers a completely different document from

 2   a different month. And the very exhibit he attaches establishes the

 3   allegation’s accuracy. (See Ver’s Ex. 4 at 1.) Ver highlights an

 4   email he received in October 2015. The fact that the advice Ver

 5   received from his advisors changed over time does not render the

 6   indictment’s allegation either incomplete or inaccurate. Moreover,

 7   nothing suggests that the grand jury did not review the October 2015

 8   email. To the contrary, Ver’s so-called exculpatory email is

 9   referenced in paragraph 27(e)(xvii).

10        In the last two, Ver does not present any purported misquotation

11   or misrepresentation but only muses that the “full communications”

12   show Ver “grappling with questions that were impossible to answer.”

13   (Br. at 31.) Putting aside that during the same time Ver said he had

14   answers to these supposedly “impossible” questions, (e.g., Indictment

15   ¶ 27(e)(xix)), such musings provide no basis for dismissal.

16        To the extent Ver’s motion can be read as arguing the government

17   failed to present exculpatory evidence, it is black letter law that

18   he “has no right to have exculpatory evidence presented” to the grand

19   jury. United States v. Fritz, 852 F.2d 1175, 1178 (9th Cir. 1988).

20        Nor is dismissal appropriate under the Court’s supervisory

21   powers. See United States v. Williams, 504 U.S. 36, 52 (1992). Where

22   a defendant's claim is simply that the grand jury was presented with

23   unreliable, incomplete, or misleading information, this constitutes

24   an impermissible challenge to the adequacy or quality of the evidence

25   presented that cannot result in dismissal. Id. at 54-55; Bank of Nova

26   Scotia v. United States, 487 U.S. 250, 261 (1988) (“[A]n indictment

27   valid on its face is not subject to such a challenge.”).

28

                                           38
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 48 of 49 Page ID
                                        #:287


 1   VI.   CONCLUSION

 2         In sum, when appropriate, Ver’s motion should be denied.

 3
     Dated: January 13, 2025             Respectfully submitted,
 4
                                         E. MARTIN ESTRADA
 5                                       United States Attorney
 6
                                         LINDSEY GREER DOTSON
 7                                       Assistant United States Attorney
                                         Chief, Criminal Division
 8

 9                                                /s/
                                         MATTHEW J. KLUGE (PABN 204285)
10                                       Assistant Chief, Tax Division
11                                       PETER J. ANTHONY (NYBN 4940912)
                                         Trial Attorney, Tax Division
12
                                         JAMES C. HUGHES
13                                       Assistant United States Attorney
14                                       Attorneys for Plaintiff
15                                       UNITED STATES OF AMERICA

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           39
     Case 2:24-cr-00103-MWF   Document 34 Filed 01/13/25   Page 49 of 49 Page ID
                                        #:288


 1                     L.R. 11-6.2 Certificate of Compliance

 2        The undersigned, counsel of record for the United States of

 3   America, certifies that this brief contains 10,449 words, which

 4   complies with the government’s contemporaneously filed, unopposed

 5   application requesting an enlarged word limit of 10,500 words.

 6

 7   Dated: January 13, 2025                      /s/
                                         MATTHEW J. KLUGE (PABN 204285)
 8                                       Assistant Chief, Tax Division
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
